EXHIBIT F
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(12) United States Patent                                                          (10) Patent No.:                US 6,594,055 B2
       Snawerdt                                                                    (45) Date of Patent:                      *Jul. 15, 2003

(54) SECURE FIBER OPTIC                                                              5,625,479 A * 4/1997 Suzuki et al................ 359/135
           TELECOMMUNICATIONS SYSTEMAND                                              5,726,784. A      3/1998 Alexander et al. .......... 359/125
           METHOD                                                                    5,745,613 A       4/1998 Fukuchi et al. ............... 385/24
                                                                                     5,757,912 A       5/1998 Blow .......................... 380/21
                                                                                     5,793,512 A       8/1998 Ryu ........................... 359/179
(75) Inventor: Its Snawerdt, Melbourne Beach, FL                                     5,896.211. A      4/1999 Watanabe ................... 359/124
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(73) Assignee: Oyster Optics, Inc., New York, NY                                     6,072,615. A      6/2000 Mamyshev ................. 359/183
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(*) Notice:                  Subject to any disclaimer, the term of this             6,124,960 A       9/2000 Garthe et al. ............... 359/181
                             patent is extended or adjusted under 35                 6,215,565 B1      4/2001 Davis et al. ................ 359/110
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                             This patent is Subject to a terminal dis-               6,404,528 B1 6/2002 Pfeiffer ....................... 359/189
                             claimer.                                           * cited by examiner
(21) Appl. No.: 09/765,153                                                      Primary Examiner Leslie Pascal
(22) Filed:     Jan. 17, 2001                                                   Assistant Examiner David C. Payne
                                                                                (74) Attorney, Agent, or Firm-Davidson, Davidson &
(65)                 Prior Publication Data                                     Kappel, LLC
           US 2002/0093713 A1 Jul. 18, 2002                                     (57)                    ABSTRACT
                    7
(51) Int. Cl. ...                    ... H04B 10/12; H04B 10/04                 A Secure fiber optic data transmission System includes a
(52) U.S. Cl. ....................... 359/173; 359/183; 35.9/154;               transmitter having a light Source, a phase modulator for
                                        359/156; 359/158; 359/161               phase modulating the light Source, and a controller for
(58) Field of Search ................................. 359/173, 183,            controlling the phase modulator as a function of an input
                          359/154, 156, 158, 161; 380/21                        electronic data Stream and a Second electronic data Stream
                                                                                having a delay, the phase modulator creating a phase
(56)                          References Cited                                  modulated optical signal. An optical fiber receives the opti
                        U.S. PATENT DOCUMENTS                                   cal signal and a receiver receives the optical signal from the
                                                                                optical fiber. The receiver has a splitter for Splitting the
       4,824.201 A               4/1989 Kazovsky ................ 380/96.16     optical Signal into a first path and a Second path. The Second
       5,223,967 A               6/1993 Udd ..........            ... 359/119   path has a Second path length longer than the first path
       E. A                     8.        Saleh - - - -          - - - - i.t    length, the Second path length being a function of the delay
       S.S.      A "...I.G., NE.". 56
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                                                                  in the second electronic data stream.
       5,606,446 A               2/1997 Davis et al. ................ 359/173                  27 Claims, 4 Drawing Sheets


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                                                          -


                                        Modulator




                             Input
                             Dato                               /
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                                      Qndu]D?DO
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                                         12O
                   119



                                                  OP
    DS




              41   34                                  3642 -38
         OP
                                                           's
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                                                {- time

 DSI     01 010011 1 0 1 1 01 011 11 1 01101011101

         01000011011011 10011011011100100-64
  f      0 0 1 0011 1 0 1 0 1 0 1 1 1 0 1 0 1 0 1 1 1 01

 OP      0001 000011011011 1001101 1 0 1 1 001
 OPD 01000011011011 100110110111001
 DSO 01 010011101101011111011010111



                  FIG. 4
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                                              {-time

 DS.     OOOO 1 O1 1 01 01 11 1 01 01 0 1 1 Ol

   A     00010110001110110011 1 0001001110 (-64
   B     Ol Ol00 1 1 0110101111 1 01101011101

 OP      01 0001 0 1 1 00011 1 0 1 0011 1 0001 0011
 OPD 000101100011101 1001 1100010011
 DSO 01 010011101101011111011010111



                  FIG.S
                                                      US 6,594,055 B2
                               1                                                                         2
               SECURE FIBER OPTIC                                        Source, as opposed to the current installed base where the
         TELECOMMUNICATIONS SYSTEMAND                                    transmitter has the light Source.
                    METHOD                                                  The Sagnac-interferometer-based Systems thus are expen
                                                                         Sive to build and operate, and do not work particularly well
                                                                         with existing Systems.
           BACKGROUND OF THE INVENTION                                      U.S. Pat. No. 6,072,615 purports to describe a method for
   1. Field of the Invention
                                                                         generating a return-to-Zero optical pulses using a phase
                                                                         modulator and optical filter. The RZ-pulse optical Signal
   The present invention relates generally to telecommuni                transmitted over the fiber is easily readable by a detector.
cations and more particularly to improving Security and data                U.S. Pat. No. 5,606,446 purports to describe an optical
transmission over fiber optic networks.                                  telecommunications System employing multiple phase
   2. Background Information                                             compensated optical Signals. Multiple interferometric Sys
   In current fiber optic networks, an electronic data Stream            tems are combined for the purpose of multiplexing various
is fed to a laser amplitude modulator. The laser amplitude               payloads on the same optical transmission path. The patent
modulator typically pulses or alters the laser output to create     15   attempts to describe a method for providing fiber usage
an amplitude-modulated optical Signal representative of the              diversity using optical coherence length properties and a
                                                                         complex transmit/receive System. Each transmitter has a
electronic data Stream. The laser amplitude modulator and                Splitter, a plurality of fibers and a plurality of phase modu
laser thus define a transmitter for transmitting the optical             lators to create the multiplexed signal, which is then demul
Signal over an optical fiber, which is then received by a                tiplexed at the receiver. This System is complex and expen
receiver. The receiver for the amplitude-modulated optical               SVC.
Signals of the optical data typically includes a photodiode to                       SUMMARY OF THE INVENTION
convert the optical Signals back into the electronic data
Stream.                                                                     An object of the present invention is to provide an
   The reading of the amplitude-modulated optical data                   improved Security optical fiber transmission System and
Signals using a photodiode is Straightforward: the optical          25   device. An alternate or additional object of the present
Signals either produce an electric output at the photodiode or           invention is to provide high bandwidth optical data transport
                                                                         via transmission and recovery of phase-modulated optical
they do not. As a result, an output electronic data Stream of            Signals. Yet another alternate or additional object of the
ZeroS and ones is generated.                                             present invention is to provide a simple yet Secure phase
   However, optical fiber may be tapped. The optical fibers              modulated optical data transmission System.
can be spliced or even merely clamped So as to obtain optical               The present invention provides a fiber optic data trans
signals from the fiber. It also may be possible to tap fibers            mission System comprising a transmitter having a light
without physically touching the optical fiber, for example by            Source, a phase modulator for phase modulating the light
reading energy emanating or dissipating along the fiber.                 Source and a controller for the phase modulator. The con
Amplitude-modulated optical Signals, with their ease of             35   troller controls the phase modulator as a function of an input
detection from a photodiode, require that only a Small                   electronic data Stream and a Second electronic data Stream
amount of energy be tapped and passed through the photo                  employing a delay, So as to create an encoded phase
diode in order to be converted into a tapped electronic data             modulated optical Signal in the light passing through the
Stream.                                                                  phase modulator. The System also includes an optical fiber
   To confront non-Secure optical and non-optical data lines,       40   receiving the optical Signal and a receiver receiving the
it has been known to use public key/private key encryption               optical Signal from the optical fiber. The receiver includes a
So that the data Stream being transmitted is encoded in a                Splitter for Splitting the optical Signal into a first path and a
format that makes it difficult to decode. Encryption however             Second path. The Second path has a Second path length
has Several drawbacks, including the need for extra proceSS              longer than the first path length, the Second path length being
ing Steps and time. Moreover, public key/private key                45   a function of the delay in the Second electronic data Stream.
encrypted data can be cracked, and the devices and algo                  The receiver also includes a coupler for coupling the first
rithms for doing So are constantly improving.                            path and the Second path together So as to create an optical
   U.S. Pat. No. 5,455,698 purports to disclose a secure fiber           output signal.
optic communications System based on the principles of a                    With the system of the present invention, the receiver
Sagnac interferometer. A data transmitter is a phase modu           50   functions as an interferometer. An attempt to read the optical
lator for modulating counter-propagating light beams Sent                Signal in the fiber, for example from a tap, requires knowl
by a receiver round a loop. The receiver includes a light                edge of the delay and the creation of a precise physical delay
Source, a beamsplitter for Splitting light from the light Source         path in the interferometer. Optical detectors with photo
into counter-propagating light beams and for receiving the               diodes do not have the bandwidth to measure the phase
phase-modulated light beams, and an output detector. U.S.           55   modulated optical Signal directly, Since photodiodes are only
Pat. No. 5,223,967 describes a similar Sagnac                            capable of determining whether or not light is present.
interferometer-based System operating over a Single optical                 The interferometer of the receiver of the present invention
fiber.                                                                   requires a Significant amount of light to pass through the
   The Sagnac-interferometer-based Systems described in                  Splitter and coupler, So that a tap would have to remove a
these patents have the disadvantage that they require the           60   Significant amount of energy from the optical fiber in order
light to travel over a loop, whether back and forth in a Single          to resolve the optical signal without a significant bit error
fiber or over a long length looped fiber. As a result, either the        rate. Detection of a tap on the System of the present
link budget for the Single fiber must be doubled, reducing the           invention, for example through a detection device reading a
data carrying capacity for a Single fiber, or else a looped fiber        level of light energy in the fiber, becomes almost certain.
with Significant and expensive extra length of at least twice       65      Moreover, the tap would have to match the interferometer
that of a single fiber must be laid between the transmitter and          delay in the Second path to the electronic delay imposed by
the receiver. Moreover, the receiver contains the light                  the controller, which is not always known.
                                                     US 6,594,055 B2
                               3                                                                      4
   The controller preferably includes an exclusive-or gate                 Preferably, the phase modulated data is a function of an
function, the input data Stream being fed to an input of the            output of a delayed-feedback exclusive-orgate.
exclusive-orgate and the Second data Stream being an input                 The method further may include receiving optical signals
of the exclusive-orgate and a function of the output of the             in a receiver, Splitting the optical Signals into a first and
exclusive-or gate. The Second data Stream thus runs in a                Second path and imposing a Second delay on light in the
feedback circuit, which preferably includes a delay circuit             Second path with respect to light in the first path. The Second
delaying the Second data Stream by an amount of time                    delay is a function of the electronically-imposed delay and
directly proportional to the bit rate. AS Such, the controller          most preferably is equal to the electronically-imposed delay.
may comprise a delayed-feedback exclusive-orgate.                       The first and Second paths then are recombined So as to
   The delay circuit may delay the Second data Stream by an             generate an output optical Signal, which may be read by an
amount of time directly proportional to a predetermined                 optoelectronic detector.
number of bits. When the data rates are at 155 Mb/sec                      The method preferably includes monitoring a fiber for
(OC-3) or higher, the amount of delay preferably is greater             intrusion. The monitoring preferably includes monitoring an
than one bit. However, for data rates below OC-3, the                   energy level in the fiber with programmable trip levels.
electronic delay can be a fraction of the bit time, as long as     15
the fraction is a power of two, for example one-half,                           BRIEF DESCRIPTION OF THE DRAWINGS
one-quarter, one-eighth, etc. The fractional delay permits the
present System to run relatively low data rates, Such as T1,              A preferred continuous-wave laser embodiment of the
without requiring a long coherence length Source.                       present invention is described below by reference to the
   The light Source preferably is a continuous wave laser, for          following drawings, in which:
example a Semiconductor laser operating at approximately                  FIG. 1 shows a schematic of the system of the present
1550 nm or other wavelengths. The transmitter of the                    invention;
present invention requires only one phase modulator, and                     FIG.2 shows details of the circuit of the controller of FIG.
can operate at Speeds of up to 10 Gb/s and even faster.                 1;
   The receiver may include a detector for converting the          25
                                                                             FIG. 3 shows in a larger view the interferometer FIG. 1;
output optical Signal into an electronic output data Stream.                 FIG. 4 shows details of an electronic data stream and the
Preferably, the path length difference between the first path           respective phase-modulated optical Signals of the present
length and Second path length is a function of the delay and            invention, in representative binary form; and
the speed of the light in the fiber. The distance delays the                 FIG. 5 shows details of other electronic data streams and
light traveling in the Second path with respect to light in the         phase-modulated optical signals of the present invention, in
first path by a Second delay, the Second delay preferably               representative binary form.
being equal to the delay imposed at the controller. The
Second delay may vary slighty from the first delay, as long                               DETAILED DESCRIPTION
as the detector at the detector can read the output Signal. The            FIG. 1 shows a preferred embodiment of a secure tele
actual permissible difference will depend on the light Source      35
and any electronic filtering of the output Signal.                      communications System 1 according to the present inven
   The System preferably includes a detector for detecting a            tion. The system 1 includes a transmitter 10, an optical fiber
tap or loSS of energy in the optical fiber. Most preferably, the        20, and a receiver 30. Transmitter 10 includes a continuous
detector is an energy Sensor, which may or may not include              wave coherent laser 12, for example a Semiconductor laser
programmable “trip' levels, which can monitor the ampli            40   emitting a narrow band of light at approximately 1550 nm,
tude of the light in the fiber. If a tap occurs, it must couple         or at other wavelengths. Light emitted from laser 12 is
off a Significant amount of energy to pass through an                   depolarized by a depolarizer 14 and passes through a phase
interferometer with a low bit error rate, thus making detec             modulator 16, for example a Mach-Zender phase modulator.
tion of the tap by the detector highly likely.                          An electronic controller 18, for example a PLC, controls
   Depolarizers preferably are located between the light           45   phase modulator 16. Controller 18 is also programmable to
                                                                        control the optical power output of light emitted by laser 12.
Source and the phase modulator, and in the first path of the            Preferably, the power output is set as low as possible for a
receiver. The depolarizer in the receiver alternatively may be          given optical Span, while maintaining a low bit error rate.
in the Second path.                                                     This reduces the light available for any tap.
   The present invention also provides a transmitter com           50      Depending on the controller output, phase modulator 16
prising a light Source, a phase modulator for phase modu                either imparts no phase shift to the light or a 180-degree
lating the light Source, and a controller controlling the phase         phase shift on the light passing through phase modulator 16,
modulator, the controller including a delayed-feedback                  thus creating an optical Signal 22, which represents a stream
exclusive-orgate.                                                       of binary bits. Optical signal 22 is transmitted over fiber 20
   In addition, the present invention also provides a receiver     55   to receiver 30. Receiver 30 includes a coupler/splitter 31,
comprising an interferometer, the interferometer having a               functioning as a splitter, a light monitoring detector 32, a
first path and a Second path propogating light at a delay with          coupler/splitter 34, functioning as a splitter, and a coupler/
respect to the first path, the delay being a function of a delay        Splitter 36, functioning as a coupler. The coupler 34 and
imposed by a phase-modulator controller in a light-emitting             splitter 36 together define part of an interferometer 40, as
transmitter.                                                       60   will be described with reference to FIG. 3.
  A method for transmitting Secure data is also provided                   FIG. 2 shows a schematic of part of the circuitry of
comprising the Steps of:                                                controller 18 of FIG.1. Input data identified as DSI forms an
  transmitting light from a light Source in a transmitter;              input B of an exclusive-orgate 118. The other input A of the
  electronically imposing a delay on an electronic data                 exclusive-orgate 118 is a feedback loop 119, which feeds
Stream; and                                                        65   back the output of eXclusive-orgate 118, and provides an
  phase modulating the light in the transmitter as a function           electronic delay circuit 120, which causes output OP to
of the Selected delay and an electronic data input Stream.              arrive at input A with a delay, for example, a certain number
                                                      US 6,594,055 B2
                              S                                                                         6
of bits later. Exclusive-or gate 118 thus is a delayed                      The interferometer 40 comprising coupler/splitter 34 and
feedback exclusive-or gate, which outputs an output elec                 36, fibers 43 and 45, delay fiber 46, and depolarizer 48 thus
tronic data stream OP for controlling phase modulator 16.                functions as an optical eXclusive-orgate with one input leg
Phase modulator 16 phase modulates the light output from                 delayed for Signals arriving at input 41 of coupler 34.
the laser 12 based on the electronic data stream OP. Optical             Interferometer 40 as a whole thus optically and physically
Signal 22 in FIG. 1 thus corresponds to the data in electronic           “decodes” the signal OP produced by the delayed-feedback
data stream OP.                                                          exclusive-orgate 118 of FIG. 2.
   Optical signal 22 of FIG. 1, which preferably has a                      FIG. 4 shows a schematic example of the functioning of
constant maximum amplitude, then passes to receiver 30.                  the system 1 with a two-bit delay imposed by delay circuit
Splitter 31 splits off a portion of the light, directing part of
the optical energy to the light monitoring detector 32 and               120. The electronic data stream input DSI is also the input
passing the remaining light to the interferometer 40. A                  B for exclusive-orgate 118. The first two delayed bits from
detector 32, for example a light energy detector, monitors               input A are determined by the previous two bits in Stream B,
the light energy in the fiber 20 via the light energy coupled            and as will be demonstrated with respect to FIG. 5, do not
to the detector by Splitter 31, the light energy being a                 affect the functioning of the System 1. ASSuming for pur
                                                                    15   poses of FIG. 4 that the delayed bits 64 entered input A as
function of the amplitude. If the amplitude drops, most
likely from a tap, the detector alerts the receiver and can, for         Zero and Zero, the output OP is as shown. Phase modulator
example, Sound an alarm or alert network maintenance                     16 then converts this electronic data stream OP into optical
perSonnel. Additionally, Since the receiver is generally part            signal 22 representative of OP. The interferometer 40 then
of a component box, which also includes a transmitter, the               creates delayed optical signal OPD, also delayed two bits
component box transmitter can Send a signal back to the                  from the optical signal representative of OP. At combiner 36,
component box containing transmitter 10 So as to instruct                the two signals OP and OPD produce, at output 42 and
transmitter 10 to Stop Sending data, or to Send data over a              photodiode detector 38, the data stream output DSO. As
standby fiber. Detector 32, while preferably part of receiver            shown, input data stream DSI and output data stream DSO
30, also could be located separately from receiver 30, for               are the same after accounting for delay and initialization.
example where fiber 20 enters a building or other secure            25
                                                                            FIG. 5 shows the effect of having a different first two
environment.
   Optical Signal 22 after passing Splitter 31 then enters               delayed bits 65 from input A on the same data stream input
                                                                         DSI of FIG. 4. While the data stream OP and OPD thus differ
interferometer 40 at an input 41 of splitter 34. Splitter 34             from those in FIG. 4, the resulting data stream output DSO
Splits the light entering input 41, So that the Signal OP travels        is the same as in FIG. 4.
over both a first fiber 43 and a second fiber 45. A depolarizer            System 1 provides a Secure method for transmitting data
48 may depolarize light passing through fiber 43, preferably,
or fiber 45 as an alternative. Second fiber 45 includes a delay          over a single optical fiber, which is difficult to decode if
fiber 46 which may include a fiber loop of a desired length.             tapped, and also permits excellent detection of the existence
Delay fiber 46 then provides an input to coupler 36 which                of a tap.
recombines the delayed Signal with the non-delayed signal           35
                                                                           What is claimed is:
propagating through fiber 43 and depolarizer 48 at output 42.              1. A fiber optic data transmission System comprising:
The physical delay imposed by the interferometer 40 in the                 a transmitter having a light Source producing light, a
second light path through fiber 45, with its delay loop 46,                   phase modulator for phase modulating the light Source,
with respect to light passing through the first light path                    and a controller for controlling the phase modulator as
through fiber 43 and depolarizer 48 is selected to match as         40        a function of an input electronic data Stream and a
closely as possible an electronic delay time ED imposed by                    Second electronic data Stream having a delay, the con
electronic delay circuit 120 of the controller 18. If the first               troller having a controller output electronic data Stream
path in the interferometer 40 has a length L1 and the second                  of a plurality of bits, each bit being either a binary Zero
path a length L2, the length L2 is Selected, preferably by                    or a binary one, the phase modulator creating a phase
sizing loop 46, as a function of L1, the Speed of light V in        45        modulated optical Signal, for each bit the phase modul
fibers 43 and 45, the light propagation delay through the                     lator imparting on the light for each binary Zero of the
depolarizer 48, DPD, and the electronic delay time ED. The                    controller output electronic data Stream either a first
Speed of light in the fibers may be estimated as a function of                phase corresponding to the binary Zero or a Second
the wavelength and the type of fiber used. The length L1 is                   phase offset 180 degrees from the first phase corre
known. When depolarizer 48 is in path 43, L2 is then chosen         50        sponding to the binary one So as to create the phase
to approximate, and preferably equal, the amount (ED+                         modulated optical Signal, the transmitter having an
DPD)* v--L1. The actual permissible difference between the                    optical output for the phase-modulated optical Signal,
two amounts depends on the light Source and the accuracy                      the phase-modulated optical Signal at the optical output
of any electronic filtering of the output signal.                             being free of amplitude modulation as a function of the
   The light recombining at output 42 thus recombines the           55        input electronic data Stream;
signal OP with a delayed signal OPD, delayed by an amount                  an optical fiber receiving the optical Signal; and
of time equivalent to the electronic delay time ED. If the data            a receiver receiving the optical Signal from the optical
in the OP and OPD signals each represents a zero, or each                     fiber, the receiver having a splitter for Splitting the
represents a one, at the inputs 44 and 47 to coupler 36, the                  optical Signal into a first path and a Second path, with
Signals will destructively interfere when recombined at             60        a path length difference between the first path and
output 42 of coupler 36. Output detector 38 then detects no                   Second path being a function of the delay in the Second
light and a produces a Zero Signal. If one of the data bits in                electronic data Stream.
the OP and OPD signals represents a zero and the other one                 2. The System as recited in claim 1 wherein receiver
represents a one, at the inputs 44 and 47 to coupler 36, the             further includes a coupler for coupling the first path and the
Signals will constructively interfere when recombined at            65   Second path together So as to create an optical output signal.
coupler output 42. Output detector 38 then detects light and               3. The system as recited in claim 1 wherein the controller
produces an electronic Signal representative of a one.                   includes an exclusive-orgate, the input data Stream being
                                                    US 6,594,055 B2
                               7                                                                  8
fed to a first input of the exclusive-orgate and the Second           16. The optical data receiver as recited in claim 15 further
data Stream being a Second input of the exclusive-orgate and        comprising a detector for detecting an energy level at an
a function of an output of the exclusive-orgate.                    input of the receiver.
   4. The system as recited in claim 3 wherein the controller          17. A method for transmitting Secure data is also provided
includes a delay circuit delaying the Second data Stream        5   comprising the Steps of:
between the output and the Second input by a certain number           transmitting light from a light Source in a transmitter;
of bits.                                                              electronically imposing a delay on an electronic data
   5. The system as recited in claim 4 wherein the delay                 Stream,
circuit delays the Second data Stream by a predetermined              phase modulating the light in the transmitter as a function
number of bits.                                                         of the imposed delay and an electronic data input
   6. The system as recited in claim 1 wherein the light                Stream So as to define a phase-modulated optical Signal;
Source is a continuous wave laser.                                       and
   7. The system as recited in claim 1 wherein the transmitter       Sending the phase-modulated optical Signal from the
for the fiber has a Single phase modulator.                             transmitter free of amplitude modulation as a function
   8. The system as recited in claim 2 wherein the receiver 15          of the electronic data input Stream.
                                                                     18. The method as recited in claim 17 wherein the phase
includes a detector for converting the output optical Signal modulating
into an electronic output data Stream.                                          Step is a function of an output of a delayed
   9. The system as recited in claim 1 wherein the second          feedback  exclusive-orgate.
                                                                     19. The method as recited in claim 17 further comprising
path length is longer than the first path length by a distance, receiving     optical signals in a receiver, Splitting the optical
the distance being a function of the delay and the Speed of Signals into a first and Second path and imposing a Second
light in the fiber.                                                delay on light in the Second path with respect to light in the
   10. The system as recited in claim 9 wherein the distance first path.
delays the light traveling in the Second path with respect to        20. The method as recited in claim 19 wherein the second
light in the first path by a Second delay, the Second delay delay is a function of the electronically-imposed delay.
being equal to the delay imposed at the controller.             25   21. The method as recited in claim 20 wherein the second
   11. The system as recited as recited in claim 9 wherein the delay is equal to the electronically-imposed delay.
distance delays the light traveling in the Second path with          22. The method as recited in claim 19 further comprising
respect to light in the first path by a Second delay, the Second recombining the first and Second paths So as to generate an
delay differing from the delay at the controller by an amount amplitude-varying output optical Signal.
less than the coherence length of the light divided by the           23. The method as recited in claim 22 further comprising
speed of the light in the fiber.                                   converting the output optical Signal into an electronic data
   12. The system as recited in claim 11 further including a output Stream.
detector for detecting a tap or loSS of energy in the optical        24. The method as recited in claim 17 further including
fiber.                                                             monitoring   a fiber for intrusion.
   13. The system as recited in claim 12 wherein the detector 35 25. The method as recited in claim 24 wherein the
is a light energy monitor.                                         monitoring Step includes monitoring an energy level in the
   14. The System as recited in claim 1 further comprising a fiber.
first depolarizer between the light Source and the phase             26. The method as recited in claim 25 wherein the
modulator and a Second depolarizer in at least one of the first monitoring Step further includes programming detection
path and Second path of the receiver.                           40 threshold levels.
   15. An optical data transmitter comprising:                       27. A fiber optic data transmission System comprising:
   a light Source producing light;                                   means for phase modulating light as a function of an input
   a phase modulator for phase modulating light from the                electronic data Stream and a Second electronic data
      light Source; and                                         45
                                                                        Stream  having a delay, thus creating a phase-modulated
   a controller controlling the phase modulator, the control            optical Signal with encoded information for recovery,
      ler including a delayed-feedback exclusive-orgate and             the means for phase modulating the light including an
      having a controller output electronic data Stream of a            output for the phase-modulated optical Signal, the
      plurality of bits, each bit being either a binary Zero or         phase-modulated optical Signal at the optical output
       a binary one, the phase modulator creating a phase 50            being free of amplitude modulation as a function of the
      modulated optical Signal, for each bit the phase modul            input electronic data Stream;
      lator imparting on the light for each binary Zero of the       means for transporting the optical signal, the transporting
      controller output electronic data Stream either a first           means being operably connected to the phase modul
      phase corresponding to the binary Zero or a Second                lating light means, and
      phase offset 180 degrees from the first phase corre 55 means for receiving the optical Signal from the transport
      sponding to the binary one So as to create the phase              ing means, the receiving means including an interfer
      modulated optical Signal, the transmitter having an               ometer having a path length difference which is a
      optical output for the phase-modulated optical Signal,            function of the delay in the Second electronic data
      the phase-modulated optical Signal at the optical output          Stream.
      being free of amplitude modulation as a function of the
      input electronic data Stream.
